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           20                             UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
           21
                KELLYE CROFT,                                Case No. 2:24-cv-00371-PA (AGR)   ___
           22
                                 Plaintiff,                  DECLARATION OF PLAINTIFF IN
           23                                                SUPPORT OF PLAINTIFF’S
                         vs.                                 OPPOSITION TO DOLAN
           24                                                DEFENDANTS’ MOTION TO
              JAMES DOLAN, HARVEY                            DISMISS
           25 WEINSTEIN, JD & THE STRAIGHT
              SHOT, LLC, THE AZOFF COMPANY
           26 HOLDINGS LLC f/k/a/ AZOFF
              MUSIC MANAGEMENT, LLC, THE
           27
           28     DECLARATION OF PLAINTIFF IN SUPPORT OF PLAINTIFF’S OPPOSITION
                           TO DOLAN DEFENDANTS’ MOTION TO DISMISS
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         Case 2:24-cv-00371-PA-AGR Document 56-1 Filed 05/13/24 Page 2 of 4 Page ID #:872




              AZOFF COMPANY LLC f/k/a AZOFF
            1 MSG ENTERTAINMENT, LLC, DOE
              CORPORATIONS 1-10,
            2
                                 Defendants.
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           28     DECLARATION OF PLAINTIFF IN SUPPORT OF PLAINTIFF’S OPPOSITION
                           TO DOLAN DEFENDANTS’ MOTION TO DISMISS
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            1 I, KELLYE CROFT, hereby state under penalty of perjury that:
            2            1.      I am the plaintiff in the above captioned case. I make this declaration
            3 in support of Plaintiff’s opposition to Defendants James Dolan and JD & The
            4 Straight Shot, LLC’s motion to dismiss.
            5            2.      Before I retained counsel in 2023 to represent me concerning the claims
            6 alleged in the Amended Complaint, I did not know about The Weinstein Company
            7 (“TWC”) bankruptcy or that there had been a fund established for Harvey
            8 Weinstein’s victims related to that bankruptcy.
            9            3.      Before I retained counsel in 2023 to represent me concerning the claims
           10 alleged in the Amended Complaint, I did not know that James Dolan was ever a
           11 board director of TWC or that the bankruptcy of TWC could have any connection to
           12 any legal claims I might have had against James Dolan.
           13            4.      Throughout my life, I have resided in Tennessee. I have never been a
           14 subscriber or regular reader of Variety, The Hollywood Reporter, or the New York
           15 Post. Although it is possible I may have read one or more articles from those
           16 publications online, I do not believe I have ever had a print copy of any of those
           17 publications.
           18            5.      I never saw any legal notice in any newspaper or magazine about TWC
           19 bankruptcy.
           20            6.      I did not personally receive notice of any kind of TWC bankruptcy.
           21            7.      I have never agreed to waive any claims against TWC, James Dolan, or
           22 Harvey Weinstein. I have received no compensation, financial or otherwise, for the
           23 release of any claims against anyone in connection with TWC bankruptcy.
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           27                                1
           28     DECLARATION OF PLAINTIFF IN SUPPORT OF PLAINTIFF’S OPPOSITION
                           TO DOLAN DEFENDANTS’ MOTION TO DISMISS
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         Case 2:24-cv-00371-PA-AGR Document 56-1 Filed 05/13/24 Page 4 of 4 Page ID #:874




            1            I declare under penalty of perjury under the laws of the State of Tennessee
                                                                        13.00           Tennessee
            2 that the foregoing is true and correct. Executed this May _____, 2024, in______,
            3 Tennessee.
            4
                                                             By:   _________________________
            5                                                      Kellye Croft
            6
                                                                   Plaintiff Kellye Croft
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           27                                2
           28     DECLARATION OF PLAINTIFF IN SUPPORT OF PLAINTIFF’S OPPOSITION
                           TO DOLAN DEFENDANTS’ MOTION TO DISMISS
